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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 THE NEW YORK TIMES COMPANY,                 Civil Action No. 1:23-cv-11195-SHS
                                             Civil Action No. 1:24-cv-03285-SHS
                       Plaintiff,

          v.                                 Hon. Sidney H. Stein

                                             (Hon. Ona T. Wang)
 MICROSOFT CORPORATION, OPENAI,
 INC., OPENAI LP, OPENAI GP, LLC,            [PROPOSED] ORDER GRANTING
 OPENAI, LLC, OPENAI OPCO LLC,               MOTION TO ADMIT COUNSEL PRO
 OPENAI GLOBAL LLC, OAI                      HAC VICE
 CORPORATION, LLC, OPENAI
 HOLDINGS, LLC,

                        Defendants.

 DAILY NEWS, LP; CHICAGO TRIBUNE
 COMPANY, LLC; ORLANDO SENTINEL
 COMMUNICATIONS COMPANY, LLC;
 SUN-SENTINEL COMPANY, LLC; SAN
 JOSE MERCURY-NEWS, LLC; DP MEDIA
 NETWORK, LLC; ORB PUBLISHING, LLC;
 AND NORTHWEST PUBLICATIONS, LLC,

                        Plaintiffs,

          v.

 MICROSOFT CORPORATION, OPENAI,
 INC., OPENAI LP, OPENAI GP, LLC,
 OPENAI, LLC, OPENAI OPCO LLC,
 OPENAI GLOBAL LLC, OAI
 CORPORATION, LLC, OPENAI
 HOLDINGS, LLC,

                        Defendants.




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          The motion of Edward A. Bayley, for admission to practice Pro Hac Vice in the above

captioned action is granted.

          Applicant has declared that he is a member in good standing of the bar of the State of

California; and that his contact information is as follows:

          Edward A. Bayley
          Keker, Van Nest & Peters LLP
          633 Battery Street
          San Francisco, CA 94111-1809
          Telephone: 415-391-5400
          Facsimile: 415-397-7188
          Email: ebayley@keker.com

          Applicant having requested admission Pro Hac Vice to appear for all purposes as counsel

for Defendants OpenAI, Inc., OpenAI LP, OpenAI GP, LLC, OpenAI, LLC, OpenAI OpCo

LLC, OpenAI Global LLC, OAI Corporation, LLC, OpenAI Holdings, LLC in the above-

entitled action:

          IT IS HEREBY ORDERED that Applicant is admitted to practice Pro Hac Vice in the

above captioned case in the United States District Court for the Southern District of New York.

All attorneys appearing before this Court are subject to the Local Rules of this Court, including

the Rules governing discipline of attorneys.



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Dated: ________________________
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